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             IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                         CIVIL ACTION NO. 1:06CR20-9
                                           (Judge Keeley)

DARRELL LAW a/k/a “B”.

                    Defendant.

          ORDER ADOPTING THE MAGISTRATE JUDGE’S REPORT AND
          RECOMMENDATION CONCERNING DEFENDANT’S MOTIONS TO
           DISMISS, MOTION TO SEVER AND MOTION TO SUPPRESS

      On June 21, 2006, Defendant Darrell Law (“Law”) filed a pro se
“Motion to Appoint Counsel and to Dismiss Counts Nine and Ten of
the Indictment” (dkt no. 152), requesting that he be appointed
counsel and arraigned on the criminal charges at issue in this case
and that the Court dismiss Counts Nine and Ten of the Indictment.1
As basis for his request for dismissal, he stated that Counts Nine
and Ten were vague and failed to state the specific amount of crack
cocaine that he allegedly distributed on November 18, 2005.
      On July 19, 2006, Law filed a second pro se motion to dismiss
with respect to all counts in the Indictment (dkt no. 207),
restating his prior bases as well as asserting the Government’s
objection to answering a Bill of Particulars, the inadequacy of his
court-appointed lawyer, and specific words and phrases allegedly
used by the Government in the Indictment to convince “any[one] and
everyone”    that    the   defendants   are   guilty   as   new   grounds   for
dismissal. On July 22, 2006, defense counsel also filed a motion to



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       Magistrate Judge Kaull appointed counsel, and Law appeared before him for
his arraignment on July 5, 2006.
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dismiss as well as motions to suppress and to sever on Law’s
behalf.
      The Court referred these pending motions to Magistrate Judge

John S. Kaull to conduct a hearing and recommend a disposition for

the motions. On August 2, 2006, Magistrate Judge Kaull issued his

Report and Recommendation, recommending that Law’s first pro se
motion to dismiss (dkt no. 152) be denied as mooted by his
subsequent pro se motion to dismiss (dkt no. 207) and the motion to
dismiss filed by counsel on his behalf (dkt no. 210). He further
recommended that defendants’ subsequent motions to dismiss (dkt
nos. 207 & 210) be denied because Counts 1, 9, and 10 (the only
counts pertaining to Law) of the Indictment provide a “plain
concise, and definite written statement of the essential facts
constituting the offense charged” as required by Rule 7 of the
Federal Rules of Criminal Procedure. He further found that those
Counts sufficiently set forth the elements of the offense being
charged and apprize the defendant of the charge so that he may
prepare a defense in the present and be protected against double
jeopardy in the future as required by Fourth Circuit case law.
      The Magistrate Judge also recommended that the Court deny
Law’s motion to sever because the defendant withdrew that motion at
the   pretrial   motions   hearing   on   August   1,   2006.   Finally,   he
recommended that the Court deny the defendant’s motion to suppress


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his July 19, 2006 letter to the Court because the motion did not
have a basis in the law.
      Magistrate Judge Kaull advised the defendant that he should

file any objections to his recommendations no later than 10 days

after receiving service of his Report and Recommendation.              He also

warned the defendant that a failure to do so would result in the

waiver of his appellate rights with respect to these motions.2

Nevertheless, Law filed no objections to the Magistrate Judge’s

recommendations.

      Accordingly,     the   Court    ADOPTS    Magistrate    Judge    Kaull’s

recommendations, DENIES AS MOOT Law’s first pro se motion to

dismiss (dkt no. 152), and DENIES his subsequent motions to dismiss

(dkt nos. 207 & 210), motion to sever (dkt no. 208) and motion to

suppress (dkt no. 214).




      The clerk is directed to transmit copies of this order to the
defendant, counsel of record and all appropriate agencies.
DATED: August 15, 2006.



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       Wells v. Shriners Hospital, 109 F.3d 198, 199-200 (4th Cir. 1997); Thomas
v. Arn, 474 U.S. 140, 148-153 (1985).

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         DISMISS, MOTION TO SEVER AND MOTION TO SUPPRESS


                                   /s/ Irene M. Keeley
                                   IRENE M. KEELEY
                                   UNITED STATES DISTRICT JUDGE




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